               Case 22-50402-jwc                       Doc 21        Filed 03/24/22 Entered 03/24/22 10:53:29                                 Desc Main
                                                                    Document      Page 1 of 11
  Fill in this information to identify your case:

  Debtor 1              Yvett                    Tiwona                  Battles
                        First Name               Middle Name             Last Name
                                                                                                                  ■   Check if this is an amended plan, and
  Debtor 2                                                                                                            list below the sections of the plan that
  (Spouse, if filing)   First Name               Middle Name             Last Name                                    have been changed. Amendments to
                                                                                                                      sections not listed below will be
United States Bankruptcy Court for the Northern District of Georgia                                                   ineffective even if set out later in this
                                                                                                                      amended plan.
  Case number           22-50402-JWC
  (if known)
                                                                                                      2.1 3.3 3.5 5.1 6.1



Chapter 13 Plan
NOTE:                           The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                                in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See
                                Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                                No. 41-2020, available in the Clerk’s Office and on the Bankruptcy Court’s website, ganb.uscourts.gov.
                                As used in this plan, “Chapter 13 General Order” means General Order No. 41-2020 as it may from time
                                to time be amended or superseded.

  Part 1:                  Notices

To Debtor(s):                   This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                                option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and judicial
                                rulings may not be confirmable.

                                In the following notice to creditors, you must check each box that applies.

To Creditors:                   Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                                You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                                have an attorney, you may wish to consult one.

                                If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                                confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                                otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                                Bankruptcy Rule 3015.

                                To receive payments under this plan, you must have an allowed claim. If you file a proof of claim, your claim is deemed allowed
                                unless a party in interest objects. See 11 U.S.C. § 502(a).

                                The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                                controlling, unless the Bankruptcy Court orders otherwise.

                                The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                                not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                                checked, or if no box is checked, the provision will be ineffective even if set out later in the plan, except 1.4.


                                          A limit on the amount of a secured claim, that may result in a partial
                                 § 1.1                                                                                          Included             ■ Not Included
                                          payment or no payment at all to the secured creditor, set out in § 3.2
                                          Avoidance of a judicial lien or nonpossessory, nonpurchase-money
                                 § 1.2                                                                                          Included             ■ Not Included
                                          security interest, set out in § 3.4

                                 § 1.3    Nonstandard provisions, set out in Part 8                                          ■ Included                  Not Included

                                          The plan provides for the payment of a domestic support obligation (as
                                 § 1.4                                                                                          Included             ■ Not Incuded
                                          defined in 11 U.S.C. § 101(14A)), set out in § 4.4.




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Debtor Yvett Tiwona Battles                                                                 Case number 22-50402-JWC

  Part 2:        Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1   Regular Payments to the trustee; applicable commitment period.
        The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:
        Check one:         36 months            ■   60 months
        Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

        The debtor(s) will pay           $743.00 per        month      for the applicable commitment period. If the applicable commitment period is 36
        months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed
        60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of
        the applicable commitment period, no further Regular Payments will be made.

        Check if applicable.
             The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or
             reproduced. Insert additional lines as needed for more changes.):

        Beginning on               The Regular Payment                   For the following reason (insert reason for change):
        (insert date):             amount will change to
                                   (insert amount):

                                                    per     month


§ 2.2   Regular Payments; method of payment.
        Regular Payments to the trustee will be made from future income in the following manner:
        Check all that apply.
             Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the trustee the
             amount that should have been deducted.

        ■    Debtor(s) will make payments directly to the trustee.

             Other (specify method of payment):

§ 2.3   Income tax refunds.
        Check one.
             Debtor(s) will retain any income tax refunds received during the pendency of the case.
        ■    Debtor(s) will (1) supply the trustee with a copy of each federal income tax return filed during the pendency of the case within 30 days of
             filing the return and (2) turn over to the trustee, within 30 days of the receipt of any federal income tax refund during the applicable
             commitment period for tax years 2021, 2022, 2023, 2024, 2025                , the amount by which the total of all of the federal income tax refunds
             received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor’s spouse is not a
             debtor in this case, “tax refunds received” means those attributable to the debtor.

             Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:




§ 2.4   Additional Payments.
        Check one.
        ■    None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5   [Intentionally omitted.]


§ 2.6   Disbursement of funds by trustee to holders of allowed claims.

        The trustee shall disburse funds in accordance with General Order No. 41-2020. (www.ganb.uscourts.gov/local-rules-and-orders)




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  Part 3:            Treatment of Secured Claims

§ 3.1       Maintenance of payments and cure of default, if any.
            Check one.
            ■    None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

§ 3.2       Request for valuation of security and modification of certain undersecured claims.

            ■    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3       Secured claims to be paid in full.

            Check one.
                 None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
            ■    The claims listed below will be paid in full under the plan. Reasons for payment in full may include:
                 (1) were incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for
                 the personal use of the debtor(s), or
                 (2) were incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
                 (3) the value of the collateral exceeds the anticipated claim; or
                 (4) the claim listed shall be paid in full because the claim is cosigned; or
                 (5) the claim shall be paid in full because the debtor is not entitled to a discharge.
                 These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the trustee.
                 The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor in the
                 amount set out in the column headed Monthly preconfirmation adequate protection payment.
                 The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
                 (a) payment of the underlying debt determined under nonbankruptcy law, or
                 (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under 11 U.S.C.
                 § 1328, at which time the lien will terminate and be released by the creditor.
        Name of creditor                   Collateral                      Purchase date          Estimated           Interest   Monthly               Monthly post-
                                                                                                  amount of claim     rate       pre-confirmation      confirmation
+                                                                                                                                adequate protection   payment to creditor
                                                                                                                                 payment               by trustee

        CarMax Auto Finance                2015 Jeep Grand Cherokee        02/2019                     $23,531.00         6.0%              $508.00                $508.00
 -
        Georgia Department of              Tax lien - all real and         01/01/2019                     $4,000.00       3.0%              $175.00                $175.00
 -      Revenue                            personal property

§ 3.4       Lien avoidance.
            Check one.
            ■    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5       Surrender of collateral.
            Check one.
                 None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
            ■    The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request(s) that,
                 upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be
                 terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed unsecured claim resulting from the
                 disposition of the collateral will be treated in Part 5 below. No payments as to the collateral will be made, and all secured claims based on the
                 collateral will not otherwise be treated by the plan.

     +            Name of Creditor                                                              Collateral

     -            Regional Acceptance                                                           2017 Hyundai Sonata


        -         Acima                                                                         HHG




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§ 3.6       Other Allowed Secured Claims.

           A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the rate
                5.5
            of ______%.    Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in interest, may:
            object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification of the claim is
            permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien pursuant to 11 U.S.C. § 522(f), if
            applicable.
            If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured claim
            will be treated as an unsecured claim under Part 5 of this plan.
            The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:
            (a) payment of the underlying debt determined under nonbankruptcy law, or
            (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
            § 1328, at which time the lien will terminate and be released by the creditor.



  Part 4:            Treatment of Fees and Priority Claims

§ 4.1       General.

           Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full regardless
            of whether it is listed in § 4.4.
§ 4.2       Trustee's fees.

           Trustee's fees are governed by statute and may change during the course of the case.

§ 4.3       Attorney's fees.

           (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
            $_____________.
                   0.00        The allowance and payment of the fees, including the award of additional fees, expenses and costs of the attorney for the
            debtor(s) are governed by General Order 42-2020 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

           (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent set
            forth in the Chapter 13 Attorney's Fees Order.

           (c) From the first disbursement after confirmation, the attorney will receive payment under the Chapter 13 Attorney's Fees Order up to the allowed
            amount set forth in § 4.3(a).

                                                                                                                 0.00
            (d) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $_____________  per month from Regular
            Payments and (2) from Tax Refunds or Additional Payments, as set forth in the Chapter 13 Attorney's Fees Order until all allowed amounts are
            paid in full.

           (e) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the debtor(s)
                                 0.00
            the amount of $____________,     not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the attorney for the
            debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the
            stated amount or the maximum amount to the attorney, whichever is less.

           (f) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
                     0.00
            $_____________,      not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set forth in
            the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum amount within
            14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13
            Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

           (g) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the debtor(s),
            from the funds available, any allowed fees, expenses, and costs that are unpaid.

           (h) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
            allowed fees, expenses, and costs that are unpaid.

§ 4.4       Priority claims other than attorney's fees.
                None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all postpetition domestic support
                obligations directly to the holder of the claim.

                 Name and address of creditor:               Name and address of child support                      Estimated amount of        Monthly plan payment
    +                                                        enforcement agency entitled to § 1302(d)(1)
                                                             notice
                                                                                                                    claim



        -
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            ■    The debtor(s) has/have priority claims other than attorney's fees and domestic support obligations as set forth below:

                 Name and address of creditor:                                                                             Estimated amount of claim
    +
        -        Internal Revenue Service                                                                                                                 $5,900.00


        -        Georgia Department of Revenue                                                                                                                    $1.00


  Part 5:            Treatment of Nonpriority Unsecured Claims
§ 5.1       Nonpriority unsecured claims not separately classified.
            Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims will
            receive:
            Check one.
                 A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

            ■                                                          10,778.00 and (2) the funds remaining after disbursements have been made to all other
                 A pro rata portion of the larger of (1) the sum of $___________
                 creditors provided for in this plan.
                 The larger of (1) ______% of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have been
                 made to all other creditors provided for in this plan.
                 100% of the total amount of these claims.

            Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims filed and
            allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the attorney for the
            debtor(s), and other priority claims under Part 4.

§ 5.2       Maintenance of payments and cure of any default on nonpriority unsecured claims.
            Check one.
            ■    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3       Other separately classified nonpriority unsecured claims.
            Check one.
            ■    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

  Part 6:            Executory Contracts and Unexpired Leases

§ 6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
            and unexpired leases are rejected.

            Check one.
            ■    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

  Part 7:            Vesting of Property of the Estate

§ 7.1       Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in the
            debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon the
            completion of payments by the debtor(s).

  Part 8:            Nonstandard Plan Provisions

§ 8.1       Check “None” or list Nonstandard Plan Provisions.
                 None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

            Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
            included in this N.D. Ga. Chapter 13 Plan Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

            The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3. (Insert additional lines if needed.)

            1. Debt owed to Freedom Road Financial will be paid direct outside the plan by the co-debtor.




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  Part 9:       Signatures

§ 9.1   Signatures of Debtor(s) and Attorney for Debtor(s).

        The debtor(s) must sign the initial plan and, if not represented by an attorney, any modification of the plan, below. The attorney for the debtor(s), if
        any, must sign below.


   8    /s/Yvett Tiwona Battles
        Signature of debtor 1 executed on 02 / 24 / 2022
                                                                                    8    Signature of debtor 2 executed on
                                          MM / DD / YYYY                                                                      MM / DD / YYYY

        2634 Micah Drive, Ellenwood, GA 30294
        Address                                          City, State, ZIP code           Address                                          City, State, ZIP code



   8    /s/Stacey L. Butler, Esq. GA Bar #468063
        Signature of attorney for debtor(s)
                                                                                         Date:   02 / 24 / 2022
                                                                                                 MM / DD / YYYY



        The Bankruptcy Law Group, LLC.                                                   155 Eagles Walk, Suite A, Stockbridge, GA 30281
        Firm                                                                             Address                                     City, State, ZIP code



By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                               :              CHAPTER 13
                                                     :
YVETT TIWONA BATTLES,                                :              CASE NO. 22-50402-JWC
                                                     :
                        Debtor.                      :

                                      CERTIFICATE OF SERVICE

         I certify that I am over the age of 18 and that I served a copy of the foregoing “2nd Amended
Chapter 13 Plan” by first class U.S. Mail, with adequate postage prepaid on the following persons or
entities at the address stated to include the attached mailing matrix;

Yvett Battles
2634 Micah Dr.
Ellenwood, GA 30294


         I certify that, by agreement of the parties, Nancy J. Whaley, Chapter 13 Trustee, was served via the
ECF electronic mail/noticing system.

Dated: Thursday, March 24, 2022                            /s/Stacey. L. Butler                     __
                                                           Stacey L. Butler, Esq.
                                                           GA Bar No. 468063
                                                           The Bankruptcy Law Group, LLC
                                                           Attorney for the Debtor
                                                           155 Eagles Walk, Suite A
                                                           Stockbridge, GA 30281
                                                           770-389-0002 Phone
                                                           770-389-0012 Fax
                                                           courtdocs@slblawgroup.com
               Case 22-50402-jwc      Doc 21   Filed 03/24/22           Entered 03/24/22 10:53:29     Desc Main
Label Matrix for local noticing           AT&TDocument
                                               Mobility II LLC Page 8 of 11              Acima Credit
113E-1                                    %AT&T SERVICES INC.                            9815 South Monroe Street
Case 22-50402-jwc                         KAREN A. CAVAGNARO PARALEGAL                   4th Floor
Northern District of Georgia              ONE AT&T WAY, SUITE 3A104                      Sandy, UT 84070-4384
Atlanta                                   BEDMINSTER, NJ 07921-2693
Thu Mar 24 10:16:19 EDT 2022
Afni, Inc.                                Afni, Inc.                                     Aldous & Associates
Attn: Bankruptcy                          Po Box 3097                                    PO Box 171374
Po Box 3427                               Bloomington, IL 61702-3097                     Salt Lake City, UT 84117-1374
Bloomington, IL 61702-3427


Ashro                                     Ashro                                          Yvett Tiwona Battles
3650 Milwaukee St                         Attn: Bankruptcy                               2634 Micah Drive
Madison, WI 53714-2304                    1112 7th Ave                                   Ellenwood, GA 30294-6262
                                          Monroe, WI 53566-1364


Stacey L. Butler                          Caine & Weiner                                 (p)CAINE & WEINER COMPANY
The Bankruptcy Law Group, LLC             Attn: Bankruptcy                               12005 FORD ROAD 300
Suite A                                   5805 Sepulveda Blvd                            DALLAS TX 75234-7262
155 Eagles Walk                           Sherman Oaks, CA 91411-2546
Stockbridge, GA 30281-6342

CarMax Auto Finance                       CarMax Auto Finance                            CarMax Auto Finance dba CarMax Business Serv
225 Chastain Meadows Court                Attn: Bankruptcy                               225 Chastain Meadows Court,
Kennesaw, GA 30144-5897                   PO Box 440609                                  Suite 210
                                          Kennesaw, GA 30160-9511                        Kennesaw, GA 30144-5942


CarMax Business Services, LLC             Collection Receivables                         Collection Services of Athens, Inc.
CarMax Auto Finance                       1835 Central Ave                               110 Newton Bridge Rd Bld
225 Chastain Meadows Court                Augusta, GA 30904-5734                         Athens, GA 30607-1163
Suite 210
Kennesaw, GA 30144-5942

Collection Services of Athens, Inc.       Comenity Bank/Ashley Stewart                   Comenity Bank/Ashley Stewart
Attn: Bankruptcy                          Attn: Bankruptcy                               Po Box 182789
PO Box 8048                               PO Box 182125                                  Columbus, OH 43218-2789
Athens, GA 30603-8048                     Columbus, OH 43218-2125


Comenity Bank/New York                    Comenitybank/New York                          Credit Collection Services
Attn: Bankruptcy                          Po Box 182789                                  Attn: Bankruptcy
PO Box 182125                             Columbus, OH 43218-2789                        725 Canton St
Columbus, OH 43218-2125                                                                  Norwood, MA 02062-2679


Credit Collection Services                (p)DELTA COMMUNITY CREDIT UNION                Department of Education/Nelnet
Po Box 607                                PO BOX 20541                                   Attn: Bankruptcy
Norwood, MA 02062-0607                    ATLANTA GA 30320-2541                          Po Box 82561
                                                                                         Lincoln, NE 68501-2561


Department of Education/Nelnet            (p)U S DEPARTMENT OF JUSTICE TAX DIVISION      Enhanced Recovery Company
Po Box 82561                              CIVL TRIAL SECTION SOUTHERN REGION             Attn: Bankruptcy
Lincoln, NE 68501-2561                    P O BOX 14198                                  8014 Bayberry Road
                                          WASHINGTON DC 20044-4198                       Jacksonville, FL 32256-7412
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Enhanced Recovery Company                          Fingerhut
                                                       Document           Page 9 of 11            Fingerhut
Po Box 57547                                       13300 Pioneer Trail                            Attn: Bankruptcy
Jacksonville, FL 32241-7547                        Eden Prairie, MN 55347-4120                    6250 Ridgewood Road
                                                                                                  Saint Cloud, MN 56303-0820


Freedom Road Financial                             Freedom Road Financial                         FreedomRoad Financial c/o Wayfinder BK, LLC
10605 Double R Blvd                                Attn: Bankruptcy                               PO Box 64090
Reno, NV 89521-8920                                PO Box 4597                                    Tucson, AZ 85728-4090
                                                   Oak Brook, IL 60522-4597


Fusion Sleep                                       Genesis Credit/Celtic Bank                     Genesis Credit/Celtic Bank
PO Box 117129                                      Attn: Bankruptcy                               Po Box 4499
Atlanta, GA 30368-7129                             PO Box 4477                                    Beaverton, OR 97076-4499
                                                   Beaverton, OR 97076-4401


Genesis Financial/Jared                            Genesis Financial/Jared                        (p)GEORGIA DEPARTMENT OF REVENUE
Genesis FS Card Services                           Po Box 4485                                    COMPLIANCE DIVISION
PO Box 4477                                        Beaverton, OR 97076-4485                       ARCS BANKRUPTCY
Beaverton, OR 97076-4401                                                                          1800 CENTURY BLVD NE SUITE 9100
                                                                                                  ATLANTA GA 30345-3202

Internal Revenue Service                           Internal Revenue Service                       LVNV Funding, LLC
401 W. Peachtree St. NW                            P O Box 7346                                   Resurgent Capital Services
Stop 334-D                                         Philadelphia, PA 19101-7346                    PO Box 10587
Atlanta, GA 30308                                                                                 Greenville, SC 29603-0587


LaTandria Chambers                                 Midland Credit Management, Inc.                Midland Fund
3471 N Druid Hills Rd                              PO Box 2037                                    320 East Big Beaver
Decatur, GA 30033-3784                             Warren, MI 48090-2037                          Troy, MI 48083-1238



Midland Fund                                       NCB Management Services                        NCB Management Services
Attn: Bankruptcy                                   1 Allied Drive                                 Attn: Bankruptcy
350 Camino De La Reine, Suite 100                  Trevose, PA 19053-6945                         1 Allied Drive
San Diego, CA 92108-3007                                                                          Feasterville-Trevose, PA 19053-6945


(p)OFFICE OF THE ATTORNEY GENERAL OF GEORGIA       OneMain Financial                              OneMain Financial
BUSINESS AND FINANCE BANKRUPTCY                    Attn: Bankruptcy                               Po Box 1010
40 CAPITOL SQUARE SW                               Po Box 3251                                    Evansville, IN 47706-1010
ATLANTA GA 30334-9057                              Evansville, IN 47731-3251


Pinnacle Credit Services, LLC                      (p)PORTFOLIO RECOVERY ASSOCIATES LLC           (p)RECOVERY ONE LLC
Resurgent Capital Services                         PO BOX 41067                                   PO BOX 20404
PO Box 10587                                       NORFOLK VA 23541-1067                          COLUMBUS OH 43220-0404
Greenville, SC 29603-0587


Regional Acceptance                                Regional Acceptance                            Regional Acceptance Corporation
1424 E Fire Tower Road                             Attn: Bankruptcy                                         PO Box 1847
Greenville, NC 27858-4105                          1424 E Firetower Rd                                     Wilson, NC 27894-1847
                                                   Greenville, SC 27858-4105
               Case 22-50402-jwc             Doc 21       Filed 03/24/22         Entered 03/24/22 10:53:29             Desc Main
Resurgent Capital Services                           Resurgent Capital Services
                                                        Document           Page 10 of 11                  (p)SEZZLE INC
Attn: Bankruptcy                                     C/o Resurgent Capital Services                       251 N 1ST AVE
Po Box 10497                                         Greenville, SC 29602                                 SUITE 200
Greenville, SC 29603-0497                                                                                 MINNEAPOLIS MN 55401-1672


Spring Oaks Capital SPV, LLC                         (p)SPRING OAKS CAPITAL LLC                           Synergetic Communications Inc.
P O Box 1216                                         1400 CROSSWAYS BLVD STE 100B                         5450 NW Central #220
Chesapeake, VA 23327-1216                            CHESAPEAKE VA 23320-0207                             Houston, TX 77092-2061



T Mobile/T-Mobile USA Inc                            The Bureaus Inc                                      The Bureaus Inc
by American InfoSource as agent                      650 Dundee Road                                      Attn: Bankruptcy
4515 N Santa Fe Ave                                  Northbrook, IL 60062-2747                            650 Dundee Rd, Ste 370
Oklahoma City, OK 73118-7901                                                                              Northbrook, IL 60062-2757


Transworld System Inc                                Transworld System Inc                                U.S. Department of Education
Attn: Bankruptcy                                     Po Box 15095                                         Ecmc/Attn: Bankruptcy
Po Box 15630                                         Wilmington, DE 19850-5095                            Po Box 16408
Wilmington, DE 19850-5630                                                                                 Saint Paul, MN 55116-0408


U.S. Department of Education                         US Department of Education c/o Nelnet                United States Attorney
Po Box 5609                                          121 S 13th St.                                       600 Russell B. Russell Bldg.
Greenville, TX 75403-5609                            LINCOLN, NE 68508-1904                               75 Ted Turner Drive, SW
                                                                                                          Atlanta, GA 30303-3315


United States Attorney General                       Verizon                                              Verizon Wireless
U S Dept. of Justice                                 by American InfoSource as agent                      Attn: Bankruptcy
950 Pennsylvania Ave. NW                             4515 N Santa Fe Ave                                  500 Technology Dr, Ste 599
Washington, DC 20530-0009                            Oklahoma City, OK 73118-7901                         Weldon Springs, MO 63304-2225


Verizon Wireless                                     Nancy J. Whaley
National Recovery Operations                         Nancy J. Whaley, Standing Ch. 13 Trustee
Minneapolis, MN 55426                                Suite 120, Truist Plaza Garden Offices
                                                     303 Peachtree Center Avenue
                                                     Atlanta, GA 30303-1216



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Caine & Weiner                                       Delta Community Credit Union                         Department of Justice, Tax Division
Po Box 55848                                         PO Box 20541                                         Civil Trial Section, Southern Region
Sherman Oaks, CA 91413                               Atlanta, GA 30320-2541                               PO Box 14198
                                                                                                          Washington, DC 20044


Georgia Department of Revenue                        Office of the Attorney General                       Portfolio Recovery Associates, LLC
Compliance Division                                  40 Capital Square, SW                                120 Corporate Blvd Ste 100
ARCS-Bankruptcy                                      Atlanta, GA 30334                                    Norfolk, VA 23502
1800 Century Blvd. NE, Suite 9100
Atlanta, GA 30345-3202
               Case 22-50402-jwc        Doc 21   Filed 03/24/22           Entered 03/24/22 10:53:29     Desc Main
(d)Portfolio Recovery Associates, LLC       (d)Portfolio
                                               Document  Recovery Associates,
                                                                  Page 11 LLC of 11        Recovery One
Attn: Bankruptcy                            POB 41067                                      Attn: Bankruptcy
120 Corporate Boulevard                     Norfolk VA 23541                               3240 West Henderson Road
Norfolk, VA 23502                                                                          Columbus, OH 43220


(d)Recovery One                             Sezzle                                         (d)Sezzle
Po Box 20404                                251 1st Ave                                    Attn: Bankruptcy
Columbus, OH 43220                          Minneapolis, MN 55401                          Po Box 3320
                                                                                           Minneapolis, MN 55403


Spring Oaks Capital, Llc                    (d)Spring Oaks Capital, Llc                    End of Label Matrix
Attn: Bankruptcy                            P.o. Box 1216                                  Mailable recipients     79
P.O. Box 1216                               Chesapeake, VA 23327                           Bypassed recipients      0
Chesapeake, VA 23327                                                                       Total                   79
